 Case 2:24-cv-00081-LEW Document 1 Filed 03/15/24 Page 1 of 13                        PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE



WILLIAM BOYLE,                                 )
                                               )
                        Plaintiff              )              Civil Action No.
                                               )
        v.                                     )
                                               )
JANET YELLEN, in her official capacity         )
As the Secretary of the United States          )
Department of the Treasury,                    )
                                               )
UNITED STATES DEPARTMENT                       )
OF THE TREASURY, and                           )
                                               )
HIMAMAULI DAS, in his official                 )
capacity as Acting Director of the             )
Financial Crimes Enforcement Network,          )
                                               )
                        Defendants.            )


                                           COMPLAINT


        Plaintiff William Boyle brings this civil action for declaratory and injunctive relief against

Janet Yellen, in her official capacity as the Secretary of the United States Department of the

Treasury (“Yellen”), the United States Department of the Treasury (the “Treasury”), and

Himamauli Das, in his official capacity as Acting Director of the Financial Crimes Enforcement

Network (“Das”), and alleges as follows:

                                    JURISDICTION AND VENUE

   1.        This Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because this action

arises under the Constitution and laws of the United States and has jurisdiction to render
    Case 2:24-cv-00081-LEW Document 1 Filed 03/15/24 Page 2 of 13                            PageID #: 2




declaratory relief because an “actual controversy” exists between the parties within the meaning

of 28 U.S.C. § 2201(a).

     2.     Venue is proper in this Court under 28 U.S.C. § 1391(e)(3) because no real property is

involved, Plaintiff Boyle resides in this District, and Defendants are agencies or officers of the

United States sued in their official capacities.

                                                 PARTIES

     3.     William Boyle is a citizen of the State of Maine and of the United States and a resident

of Cumberland, Maine. Boyle owns 90% of the membership interests of, among other things, Loon

Island, LLC, and King Pines, LLC, both of which are limited liability companies created by the

filing of documents with the Maine Secretary of State. Both entities own real estate in Gray, Maine.

     4.     Defendant United States Department of the Treasury is an executive-branch department

of the federal government headquartered in Washington, D.C. responsible for the administration

and enforcement of the Corporate Transparency Act, Pub. L. No. 116-283, 134 Stat. 4604, codified

at 31 U.S.C. § 5336 (the “CTA” or the “Act”), through the Financial Crimes Enforcement Network

(“FinCEN”).

     5.     Defendant Yellen is the Secretary of the United States Treasury and is named as a party

in her official capacity.

     6.     Defendant Das is Acting Director of FinCEN and is named as a party in his official

capacity.

                                                  FACTS

     7.     The CTA is a federal statute enacted on January 1, 2021, as part of the omnibus

National Defense Authorization Act for Fiscal Year 2021. 1


1
 William M. (Mac) Thornberry National Defense Authorization Act for Fiscal Year 2021, Pub. L. No. 116-283, 134
Stat. 3388.

                                                      2
 Case 2:24-cv-00081-LEW Document 1 Filed 03/15/24 Page 3 of 13                          PageID #: 3




    8.      Per a final rule issued by FinCEN implementing the CTA on September 29, 2022, the

CTA went into effect on January 1, 2024. 87 Fed. Reg. 59498 (Sept. 30, 2022)(codified at 31

C.F.R. § 1010.380).

    9.      The stated purpose of the CTA is to combat money laundering, the financing of

terrorism, and other illicit activity by making it more difficult for bad actors to hide or benefit from

illegal income by using shell companies or similar ownership structures. To that end, the CTA

requires most small businesses to report extensive personal ownership information to the federal

government.

    10.     Specifically, the Act requires “reporting companies” to report the identities of and

provide other data regarding their “beneficial owners” to FinCEN. Each of those terms is broadly

and ambiguously defined:

               A “reporting company” is defined as a “corporation, limited liability company, or

                similar entity that is (i) created by the filing of a document with a secretary of state

                or a similar office under the law of a State or Indian Tribe; or (ii) formed under the

                law of a foreign country and registered to do business in the United States by the

                filing of a document with a secretary of state or a similar office under the laws of a

                State or Indian Tribe.” 31 U.S.C. § 5336(a)(11)(A).

               A “beneficial owner” is defined as “an individual who, directly or indirectly,

                through any contract, arrangement, understanding, relationship, or otherwise” (i)

                “exercises substantial control over the entity;” or (ii) “owns or controls not less than

                25 percent of the ownership interests of the entity.” Id. § 5336(a)(3)(A).




                                                   3
 Case 2:24-cv-00081-LEW Document 1 Filed 03/15/24 Page 4 of 13                        PageID #: 4




              An “applicant” is defined as any individual who files an application to form a

               reporting company or “registers or files an application to register” a non-U.S.

               company to do business in the United States. Id. § 5336(a)(2).

   11.     By virtue of his ownership of 90% of the membership interests of Loon Island, LLC

and King Pines, LLC, Plaintiff Boyle is a “beneficial owner” of at least two “reporting companies”

as defined by the CTA. Accordingly, he is subject to the CTA’s requirements.

   12.     Loon Island, LLC, and King Pines, LLC, own real estate in the State of Maine and

engage in exclusively intrastate commerce.

   13.     A reporting company must provide to FinCEN personal identifying information for all

beneficial owners of the entity, which includes their full legal name, date of birth, current

residential or business street address, and “unique identifying number from an acceptable

identification document,” such as an unexpired passport or State-issued identification card or

driver’s license, or FinCEN-issued identifier number. Id. § 5336(b)(2)(A).

   14.     For reporting companies that existed before January 1, 2024, an initial Beneficial

Ownership Report containing the aforementioned personal information must be filed “not later

than 2 years after the effective date of the regulations” that FinCEN is directed to promulgate. Id.

§ 5336(b)(1)(B).

   15.     For reporting companies formed between January 1, 2024 and January 1, 2025, an

initial Beneficial Ownership Report must be filed with 90 days of formation or registration.

   16.     For reporting companies formed after January 1, 2025, an initial Beneficial Ownership

Report must be filed at the time of formation or registration. Id. § 5336(b)(1)(C).




                                                 4
 Case 2:24-cv-00081-LEW Document 1 Filed 03/15/24 Page 5 of 13                       PageID #: 5




    17.     If there are any changes to the reported data—such as if a “beneficial owner” or

“applicant” moves their personal residence or gets a new driver’s license—the entity must provide

updated information to FinCEN no later than 30 days after the date on which the change occurred.

    18.     Reporting companies that “willfully” fail to comply with the CTA’s reporting

requirements are subject to a civil penalty of up to $500 per day up to $10,000, two years’

imprisonment, or both a fine and confinement. Id. § 5336(h)(1), (3). These penalties apply to

individuals, like Plaintiff, not reporting entities.

    19.     The disclosures required by the CTA will be used to create a vast database of personal

information regarding “beneficial owners” and “applicants.”

    20.     The CTA requires FinCEN to keep the personal data of a reporting company’s

beneficial owners and applicants for at least five years after the date on which the reporting

company is wound down. Id. § 5336(c)(1).

    21.     The personal information provided to FinCEN may be disclosed to law enforcement

agencies, and, with a reporting company’s consent, to financial institutions and their regulators.

    22.     More specifically, the CTA expressly prohibits disclosure of beneficial ownership

information, unless a request for information is properly made by a federal, state, local or tribal

governmental agency; foreign governmental agencies; financial institutions subject to federal

customer due diligence requirements that has received the reporting company’s consent to such a

disclosure; the regulators overseeing such financial institutions; or the U.S. Treasury. Id. §

5336(c)(2)(B).

    23.     If the request for personal data comes from a State, local, or tribal law enforcement

agency, the statute requires that “a court of competent jurisdiction . . . has authorized the law

enforcement agency to seek the information in a criminal or civil investigation.” Id. §



                                                       5
 Case 2:24-cv-00081-LEW Document 1 Filed 03/15/24 Page 6 of 13                       PageID #: 6




5336(c)(2)(B)(i)(II). However, no court authorization is required if the request comes from a

“Federal agency engaged in national security, intelligence, or law enforcement activity, for use in

furtherance of such activity.” Id. § 5336(c)(2)(B)(i)(I).

   24.     Likewise, a foreign government or non-U.S. law enforcement agency, prosecutor, or

judge, acting pursuant to an international treaty, may request certain beneficial owners’ or

applicant’s personal data through a federal agency engaged in national security, intelligence, or

law enforcement activity, and FinCEN is authorized to provide such data without any independent

examination of the foreign country’s need for the information. See id. § 5336(c)(2)(B)(ii).

   25.     According to FinCEN, the “reporting companies” subject to the CTA will include

approximately 32.6 million existing entities in 2024, plus roughly five million additional corporate

entities created or registered under State law every year from 2025 to 2035, as well as foreign

companies registered to do business in the United States. Beneficial Ownership Information

Reporting Requirements for Financial Crimes Enforcement Network (FinCEN), 87 Fed. Reg. at

59549 (2022).

   26.     Most small corporations and limited liability companies are considered “reporting

companies” under the CTA and are therefore subject to the new reporting requirements.

   27.     There are several exceptions, including U.S.-based companies with over 20 full-time

employees and annual gross revenue of more than $5,000,000, nonprofit entities, public

companies, banking institutions, insurance companies, public accounting firms, public companies,

broker dealers, investment funds, money-transmitting businesses, existing shell companies with

no foreign owners, assets, or active businesses, and utility companies. 31 U.S.C. § 5336(a)(11)(B).

   28.     Despite these broad carve-outs, the CTA does not exempt reporting companies formed

solely by U.S. citizens or permanent residents, including small businesses with 20 or fewer full-



                                                  6
 Case 2:24-cv-00081-LEW Document 1 Filed 03/15/24 Page 7 of 13                          PageID #: 7




time employees and less than $5 million in gross receipts or sales, as well as entities formed for

strictly intrastate commerce or non-business purposes such as entities formed to hold a family

residence (e.g., a high-profile individual wanting privacy for personal security reasons), entities

that are formed with the intent to seek 501(c) federal tax-exempt status but have not yet so (e.g., a

small artists’ collective), or non-profit entities such as local private social clubs that do not intend

to seek 501(c) federal tax-exempt status.

    29.     The CTA does not provide any limitation on its definition of “reporting companies”

based on whether an individual or entity is suspected for a crime or wrongdoing.

    30.     The CTA does not provide any limitation on its definition of “reporting companies”

based on whether the entity is engaging in commercial activity or generating income such as the

Internal Revenue Service requires for the reporting of such personal information for tax purposes.

Rather, the CTA’s requirements are triggered solely by virtue of the “reporting companies” having

been formed.

    31.     Therefore, the CTA’s burden will fall substantially and disproportionately on privately-

owned small businesses and non-commercial organizations, regardless of whether there is any

reason to believe that these small businesses and organizations have engaged in any misconduct

whatsoever.

    32.     The CTA’s beneficial owner provisions compel disclosure of Plaintiff Boyle’s sensitive

personal information to FinCEN, the Treasury Department’s criminal enforcement division. These

provisions apply solely based on the formation of the real estate holding limited liability companies

of which he is the “beneficial owner,” regardless of what those companies actually do (or do not

do).




                                                   7
    Case 2:24-cv-00081-LEW Document 1 Filed 03/15/24 Page 8 of 13                              PageID #: 8




     33.    Plaintiff Boyle objects to being forced to comply with the Act as an unconstitutional

encroachment on the sovereignty of the State of Maine to regulate entity formation. The Supreme

Court has held that individual citizens of a State have standing to raise claims that the federal

government has infringed on a State’s sovereignty. See Bond v. United States, 564 U.S. 211, 222

(2011) (“An individual has a direct interest in objecting to laws that upset the constitutional balance

between the National Government and the States when the enforcement of those laws causes injury

that is concrete, particular, and redressable. Fidelity to principles of federalism is not for the States

alone to vindicate.”).

     34.    To form and register a limited liability company, Maine law requires only the name of

the limited liability company and the name of its registered agent, not birthdates, active personal-

identification, or any other personal information of its members as the CTA requires. Me. R. S. tit.

13, § 1531(1). The Act thus requires reporting of data to the federal government above and beyond

what Maine currently requires for entity formations.

     35.    The benefits of the CTA do not justify the burdens it imposes on business owners like

Plaintiff Boyle. To the contrary, the CTA does little to effectively combat financial crime and is

inferior to the existing Customer Due Diligence Rule (“CDD Rule”).

     36.    The CTA was enacted to supplant existing beneficial ownership reporting requirements

under the CDD Rule.2 The existing CDD Rule requires financial institutions to develop and update

a risk profile (specifically for anti-money laundering and illicit transaction purposes) for every

customer and obtain documentary and verifiable beneficial ownership information, including

formation and governance documents, passports, driver’s licenses, home addresses, trust



2
  See 31 U.S.C § 5318(h) and 31 CFR § 1010.210 for anti-money laundering program requirements, and, as applied
to specific financial institutions, in 31 C.F.R. §§ 1020.210, 1021.210, 1022.210, 1023.210, 1024.210, 1025.210,
1026.210, 1027.210, 1028.210, 1029.210, and 1030.210.

                                                       8
 Case 2:24-cv-00081-LEW Document 1 Filed 03/15/24 Page 9 of 13                         PageID #: 9




agreements, or other information. The information submitted under the CDD Rule is reviewed,

vetted, and verified by compliance staff of covered financial institutions (e.g., banks, credit unions,

brokers, dealers, and registered investment advisors). Furthermore, these financial institutions

have an ongoing obligation to monitor their client relationships and report suspicious activities to

FinCEN.

   37.     The CTA, on the other hand, requires no supporting documentation, no review of the

information, and no third-party monitoring or reporting to FinCEN about suspicious financial

activity. Without a disinterested intermediary to make sure that filers are making full and accurate

disclosures, bad actors will manipulate or avoid disclosure requirements, undermining the

purported purpose of the CTA. The likely result is that the CTA will simply create a database

containing personal information about law-abiding reporting companies and their owners who will

predominantly be U.S. persons, not the foreign individuals and entities engaging in money

laundering and illegal activities that the statute was designed to target.

   38.     The CTA effectively transfers responsibility from the very institutions that process the

targeted illicit transactions (i.e., big banks, financial institutions, and escrow agents, which are

exempted from the CTA’s coverage) to small business owners. While Plaintiff fully supports

Congress’s desire to attack money laundering and terrorism financing, passing a statute that

penalizes hard-working U.S. small business owners is not the answer.




                                                  9
Case 2:24-cv-00081-LEW Document 1 Filed 03/15/24 Page 10 of 13                      PageID #: 10




                                      CAUSES OF ACTION

                                            COUNT ONE

              Unconstitutional Usurpation of the States’ Power to Regulate Entity
                  Formations in Excess of Congress’s Constitutional Powers
                              (U.S. Const. Art. I, amends. IX, X)

    39.      Plaintiff realleges and incorporates by reference each of the Complaint’s allegations

stated in paragraphs 1 through 38, above.

    40.      States possess the primary sovereign power to charter corporate entities and therefore

have independent authority to regulate the formation and governance of domestic corporations.

See CTS Corp. v. Dynamics Corp. of Am., 481 U.S. 69, 89 (1987) (“No principle of corporation

law and practice is more firmly established than a State’s authority to regulate domestic

corporations.”).

    41.      The Constitution does not intrude on this power of the States to charter corporations.

See 2 M. Farrand, Records of the Federal Convention of 1787, at 615-16 (1911) (proposals to grant

powers of incorporation to the federal government at the Constitutional Convention of 1787 were

rejected).

    42.      As the Supreme Court made clear in 1819, other than ensuring that State legislatures

did not impair vested colonial-era corporate charters, the Constitution does not vest the federal

government—including Congress and the Treasury Department—with any authority to dictate to

the States the terms under which they charter companies. See Trustees of Dartmouth College v.

Woodward, 17 U.S. (4 Wheat.) 518 (1819).

    43.      Despite this original constitutional meaning, history, and tradition, the CTA aims to

establish “a clear, Federal standard for incorporation practices,” 31 U.S.C. § 5336 note (5)(A),




                                                 10
Case 2:24-cv-00081-LEW Document 1 Filed 03/15/24 Page 11 of 13                         PageID #: 11




above and beyond what Maine entity laws require. As detailed above, failure to make these

disclosures is punishable by fines and imprisonment.

    44.     Regulation of corporate formation does not fall within any of the enumerated powers

of Congress, including without limitation the power to conduct foreign affairs, the power to

regulate foreign, interstate, or Indian commerce, and the taxing power. In addition, such regulation

is not “necessary and proper” to the fulfillment of any such enumerated powers.

    45.     For example, the formation of a “reporting company” is a purely local act that does not,

in and of itself, relate to the conduct of foreign affairs or national security.

    46.     Likewise, a “reporting company” has not yet engaged in any foreign, interstate, or

Indian commerce at the moment of its formation and does not so engage simply by virtue of being

formed.

    47.     Additionally, many of the “reporting companies” subject to the Act, including the

Maine real estate holding limited liability companies owned by Plaintiff, may never engage in any

such foreign, interstate, or Indian commerce as state law permits the formation of a corporate entity

for numerous purposes unrelated to commerce, such as local property holding or associational

entities like neighborhood organizations and residential housing associations. A large proportion

of the CTA’s coverage is thus likely to include entities that, like Loon Island, LLC and King Pines,

LLC, do not engage in commerce or business at all, or that engage in strictly intrastate commerce

(such as residential real property holding) outside the reach of federal regulation.

    48.     The CTA therefore does not regulate any specifically identified commercial activity

and clearly exceeds Congress’s power to regulate interstate, foreign, and Indian commerce.

    49.     In addition, the assessment of civil penalties under the CTA does not constitute the

levying of a tax. The CTA does not otherwise constitute an exercise of Congress’ taxing power.



                                                   11
Case 2:24-cv-00081-LEW Document 1 Filed 03/15/24 Page 12 of 13                       PageID #: 12




   50.     The CTA commandeers State agencies by coercing States into giving notice to State

filers of the CTA’s reporting requirements and providing filers with a copy of the CTA filing form.

Because the States are the only agents capable of providing notice to entity formation filers at the

time of formation, States are likely to feel compelled to provide the notice and the FinCEN filing

form to protect their citizens from the severe criminal penalties that would result from failure to

comply with the CTA’s filing requirements.

   51.     Through these requirements, the CTA violates Plaintiff’s rights by exceeding the

enumerated powers of the federal government set forth in Article I, Section 8 of the Constitution

of the United States, violating the Ninth and Tenth Amendments, and violating the constitutional

principles of federalism and retained State sovereignty upon which this Nation was founded.

WHEREFORE, Plaintiff respectfully requests that this Court:

   A. Declare the CTA to be unconstitutional;

   B. Declare that the CTA exceeds Congress’s authority under Article I of the Constitution and

encroaches upon the States’ respective sovereignties in violation of the Ninth and Tenth

Amendments and constitutional principles of federalism and retained State sovereignty;

   C. Enjoin Defendants and any other agency or employee acting on behalf of the United States

from enforcing the Act against Plaintiff, and to take such actions as are necessary and proper to

remedy their violations deriving from any such actual or attempted enforcement; and

   D. Award Plaintiff his costs and grant such other relief as the Court may deem just and proper.




                                                12
Case 2:24-cv-00081-LEW Document 1 Filed 03/15/24 Page 13 of 13        PageID #: 13




Dated: March 15, 2024                    Respectfully submitted,
                                         /s/ Daniel L. Rosenthal
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                                    13
